        Case 1:19-bk-10768 Doc 44 Filed 04/05/21 Entered 04/05/21 10:08:38                             Desc
                          Ntc/Failure to Comply Proc 5 Page 1 of 1
Form a0nproc5
(Rev. 07/12)

                                         United States Bankruptcy Court
                                            Southern District of Ohio
                                         221 East Fourth Street, Suite 800
                                           Cincinnati, OH 45202−4133


In     Danny Washington                                   Case No.: 1:19−bk−10768
Re:
                Debtor(s)                                 Chapter: 13
SSN/TAX ID:
     xxx−xx−4106                                          Judge: Beth A. Buchanan




                              Notice of Failure to Comply With ECF Procedure 5 And
                            Order Preserving Initial Filing Date Upon Timely Compliance



    The following document(s) has(have) been scanned and therefore transmitted without complying with ECF
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5(a),(b)), with certain exceptions not applicable (ECF Procedure 5(c));


[434] Assignment of Claim Transfer Agreement 3001 (e) 2 Transferor: MTGLQ Investors, LP (Claim No. 5)
                          To U.S. Bank Trust National Association, as Trustee


    For the document(s) to be effectively filed, the document(s) must be re−transmitted as Electronically Generated
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the substitute document(s).



   IT IS SO ORDERED.



Dated: April 5, 2021

                                                          /s/ BY THE COURT
